      Case 18-25897                Doc 11           Filed 09/19/18 Entered 09/19/18 23:27:21                          Desc Imaged
                                                    Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1              Sudesh K. Vohra                                                   Social Security number or ITIN        xxx−xx−7145
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Illinois
                                                                                        Date case filed for chapter 7 9/14/18
Case number:          18−25897


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Sudesh K. Vohra

2.      All other names used in the
        last 8 years

3.     Address                               130 E. Oak Street #38A
                                             Chicago, IL 60611

4.     Debtor's attorney                     Richard H Fimoff                                       Contact phone 312 456−0185
                                             Robbins, Salomon & Patt Ltd                            Email: rfimoff@rsplaw.com
       Name and address                      180 North LaSalle Street
                                             Suite 3300
                                             Chicago, IL 60601

5.     Bankruptcy trustee                    Barry A Chatz                                          Contact phone 312−876−7100
                                             Saul Ewing Arnstein & Lehr LLP                         Email: barry.chatz@saul.com
       Name and address                      161 North Clark Street
                                             Suite 4200
                                             Chicago, IL 60601
                                                                                                               For more information, see page 2 >
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Debtor Sudesh K. Vohra                                                                                                     Case number 18−25897


6. Bankruptcy clerk's office                    Eastern Division                                             Hours open: 8:30 a.m. until 4:30
                                                219 S Dearborn                                               p.m. except Saturdays, Sundays
    Documents in this case may be filed at this 7th Floor                                                    and legal holidays.
    address. You may inspect all records filed Chicago, IL 60604
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone 1−866−222−8029

                                                                                                             Date: 9/17/18

7. Meeting of creditors                          October 16, 2018 at 02:00 PM                                Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              219 South Dearborn, Office of
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            the U.S. Trustee, 8th Floor, Room
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     800, Chicago, IL 60604
                                                 Debtors must bring a picture ID and proof of
                                                 their Social Security Number.

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 12/17/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                           page 2
           Case 18-25897           Doc 11       Filed 09/19/18 Entered 09/19/18 23:27:21                         Desc Imaged
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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 18-25897-JBS
Sudesh K. Vohra                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: bchavez                      Page 1 of 1                          Date Rcvd: Sep 17, 2018
                                      Form ID: 309A                      Total Noticed: 10


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 19, 2018.
db             +Sudesh K. Vohra,    130 E. Oak Street #38A,   Chicago, IL 60611-1505
tr             +Barry A Chatz,    Saul Ewing Arnstein & Lehr LLP,   161 North Clark Street,    Suite 4200,
                 Chicago, IL 60601-3316
27075895       +John Gekas,    Saul Ewing Arnstein & Lehr,   161 N. Clark St., Suite 4200,
                 Chicago, IL 60601-3316
27075897       +Rebecca M.R. Weininger,    Johnson, Blumberg & Associates,   230 W. Monroe, #1125,
                 Chicago, IL 60606-4723
27075898       +Robert Dawidiuk,    The Collins Law Firm,   1770 Park Street, Suite 200,
                 Naperville, IL 60563-5432
27075899       +Roman J. Seckel,    Drendel & Jansons Law Group,   111 Flinn St.,    Batavia, IL 60510-2471
27075900       +Village of North Aurora,    25 East State Street,   North Aurora, IL 60542-1668
27075901       +Vohra Limited Partnership,    Ratan Vohra,   130 E. Oak Street #38A,    Chicago, IL 60611-1505

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: rfimoff@rsplaw.com Sep 18 2018 01:27:01      Richard H Fimoff,
                 Robbins, Salomon & Patt Ltd,   180 North LaSalle Street,    Suite 3300,    Chicago, IL 60601
tr             +EDI: BBACHATZ Sep 18 2018 05:08:00     Barry A Chatz,    Saul Ewing Arnstein & Lehr LLP,
                 161 North Clark Street,   Suite 4200,   Chicago, IL 60601-3316
27075902       +EDI: WFFC.COM Sep 18 2018 05:08:00     Wells Fargo Bank,    420 Montgomery Street,
                 San Francisco, CA 94104-1298
                                                                                              TOTAL: 3

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
27075894          Decade Group-Randall, LLC
27075896          Neeraj Vohra
                                                                                                                    TOTALS: 2, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 19, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 17, 2018 at the address(es) listed below:
              Barry A Chatz    barry.chatz@saul.com,
               bchatz@ecf.epiqsystems.com;jurate.medziak@saul.com;becky.sutton@saul.com;irsiabc@aol.com;IL98@ecf
               cbis.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Richard H Fimoff    on behalf of Debtor 1 Sudesh K. Vohra rfimoff@rsplaw.com, fb@rsplaw.com
                                                                                            TOTAL: 3
